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 7
                                   UNITED STATES DISTRICT COURT
 8
                                       DISTRICT OF ARIZONA
 9
10
     Yvonne L. Roberts,                          ) Case No.: 2:20-CV-01006-MTL
11                                               )
                     Plaintiff,                  )
12                                               )
             vs.                                 )      NOTICE OF SETTLEMENT
13                                               )
     ConnectionsAZ LLC,                          )
14                                               )
                     Defendant.                  )
15                                               )
                                                 )
16
17           The Parties hereby advise the Court that they have reached an agreement on settlement
18   and are in the process of finalizing the settlement process. The parties request that the Court
19   place the case on the dismissal calendar for 30 days while the parties complete the settlement.
20           RESPECTFULLY SUBMITTED this 18th day of February, 2021.
21                                             DICKINSON WRIGHT PLLC
22                                             By: /s/ D. Samuel Coffman
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23                                                 Amanda E. Newman
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26

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 5                                             Attorneys for Plaintiff
 6   ORIGINAL of the foregoing
     filed electronically via Turbocourt
 7   this 18th day of February, 2021.
 8   COPY of the foregoing was emailed
     this 18th day of February, 2021, to:
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     4820-5931-0813 v1 [69364-8]
